                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

In re:                                                 Case No. 10-68295

COLUMBA MAURA,                                         Chapter 7
and
LISA MAURA,                                            Judge Thomas J. Tucker

            Debtors.
_________________________________/

                             OPINION REGARDING THE
                    UNITED STATES TRUSTEE’S MOTION TO DISMISS

         The United States Trustee (the “UST”) filed a motion to dismiss this Chapter 7 case, on

the ground that the case is an “abuse” of Chapter 7, within the meaning of 11 U.S.C.

§ 707(b)(1).1 To demonstrate such abuse, the UST relies on the “presumption of abuse”

provisions of 11 U.S.C. § 707(b)(2); and alternatively, points to the totality of the Debtors’

financial circumstances under 11 U.S.C. § 707(b)(3). The Debtors, Columbo and Lisa Maura,

deny that their Chapter 7 case is an abuse, and oppose the Motion.

         The Court held several hearings, including an evidentiary hearing. For the reasons stated

in this opinion, the Court will grant the motion, based on the presumption of abuse in

§ 707(b)(2)(A)(i), and the Debtors’ failure to rebut that presumption under § 707(b)(2)(B).

I. Jurisdiction

         This Court has subject matter jurisdiction over this bankruptcy case and this contested

matter under 28 U.S.C. §§ 1334(b), 157(a) and 157(b)(1), and Local Rule 83.50(a) (E.D. Mich.).

This is a core proceeding under 28 U.S.C. §§ 157(b)(2)(A) and (O).

         This proceeding also is “core” because it falls within the definition of a proceeding




         1
         “Motion to Dismiss Chapter 7 Case Under 11 U.S.C. § 707(b)(2) and (3)” (Docket # 36, the
“Motion”).
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“arising under title 11” and of a proceeding “arising in” a case under title 11, within the meaning

of 28 U.S.C. § 1334(b). Matters falling within either of these categories in § 1334(b) are deemed

to be core proceedings. See Allard v. Coenen (In re Trans-Industries, Inc.), 419 B.R. 21, 27

(Bankr. E.D. Mich. 2009). This is a proceeding “arising under title 11” because it is “created or

determined by a statutory provision of title 11,” see id., namely Bankruptcy Code § 707(b). And

this is a proceeding “arising in” a case under title 11, because it is a proceeding that “by [its] very

nature, could arise only in bankruptcy cases.” See id.

II. Background

        The Debtors in this Chapter 7 case, Columbo Maura and Lisa Maura, are husband and

wife, and have been married for over 20 years. Columbo Maura works as a salesman for Lipari

Foods, Inc. Lisa Maura works as a nurse at Providence Hospital. According to their most recent

amended Schedule I, Columbo Maura has an average gross monthly income of $5,965.00, and

Lisa Maura has an average gross monthly income of $5,579.00.2 These numbers mean that the

Debtors have an annual combined gross income of $138,528.00.

        The Debtors have three children. At the time of the evidentiary hearing, the children

were ages 19, 16, and 14. The Debtors are Catholic, and the Debtors’ children have always

attended Catholic elementary school and Catholic high school. As a result of this, the Debtors

have paid substantial tuition for their children over the years. At the time of the evidentiary

hearing, the 16 year old was attending a Catholic high school, and the 14 year old was in Catholic

grade school and due to begin at Catholic high school the following year.3


        2
          See Debtors’ Exhibit E (Docket # 59) at pdf p.13, line 1 (amended Schedule I). In this opinion,
the Court will cite the exhibits admitted into evidence at the evidentiary hearing using the following
form: DX-__ for the Debtors’ exhibits; and UST-__ for the United States Trustee’s exhibits.
        3
         The foregoing facts are undisputed, and they are established by the testimony of Lisa Maura.
Tr. (Docket # 85) at 26-27, 29, 30-32, and by the testimony of Columbo Maura. Id. at 84-85.

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III. Discussion

       Section 707(b)(1) allows a United States Trustee, a trustee, a party in interest, or the court

on its own motion, to seek dismissal of a consumer Chapter 7 case, for “abuse.” It provides, in

pertinent part:

                  After notice and a hearing, the court, on its own motion or on a
                  motion by the United States trustee, trustee (or bankruptcy
                  administrator, if any), or any party in interest, may dismiss a case
                  filed by an individual debtor under this chapter whose debts are
                  primarily consumer debts, or, with the debtor’s consent, convert
                  such a case to a case under chapter 11 or 13 of this title, if it finds
                  that the granting of relief would be an abuse of the provisions
                  of this chapter.

11 U.S.C. § 707(b)(1)(emphasis added). In this case, the parties agree that the Debtors’ debts are

“primarily consumer debts.”4 “Abuse of the provisions of” Chapter 7, within the meaning of

§ 707(b)(1), can be shown in two alternative ways. The first of these is based on an unrebutted

presumption of abuse under § 707(b)(2). If the presumption of abuse does not arise under

§ 707(b)(2) or is rebutted, the Court must consider whether abuse is established under

§ 707(b)(3), by determining “whether the debtor filed the petition in bad faith” or whether “the

totality of the circumstances . . . of the debtor’s financial situation demonstrates abuse.” 11

U.S.C. § 707(b)(3).

       The UST argues that abuse is shown in this case based on both § 707(b)(2) and

§ 707(b)(3). The Court will begin by considering the presumption of abuse under § 707(b)(2).

       A. Section 707(b)(2) and the presumption of abuse

       1. General principles

       Under § 707(b)(2)(A)(i), whether a presumption of abuse arises depends on the results of



       4
           Motion (Docket # 36) at ¶ 4; Debtors’ Response to Motion (Docket # 37) at ¶ 4.

                                                     3
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a complex formula commonly referred to as “the means test.” The means test and the provisions

now in § 707(b)(2) were added by the 2005 amendments to the Bankruptcy Code, known as the

Bankruptcy Abuse Prevention and Consumer Protection Act of 2005 (“BAPCPA”).

       The Supreme Court recently described the means test this way:

               ‘Congress enacted the Bankruptcy Abuse Prevention and
               Consumer Protection Act of 2005 . . . to correct perceived abuses
               of the bankruptcy system.’ Milavetz, Gallop & Milavetz, P.A. v.
               United States, 559 U.S. ––, ––, 130 S.Ct. 1324, 1329, 176 L.Ed.2d
               79 (2010). In particular, Congress adopted the means test — “[t]he
               heart of [BAPCPA's] consumer bankruptcy reforms,” H.R.Rep.
               No. 109–31, pt. 1, p. 2 (2005), . . . — to help ensure that debtors
               who can pay creditors do pay them. See, e.g., ibid. (under
               BAPCPA, “debtors [will] repay creditors the maximum they can
               afford”).

Ransom v. FIA Card Servs., N.A., 131 S. Ct. 716, 721 (2011)(italics in original). In Chapter 7

cases, the means test is “used as a screening mechanism to determine whether a Chapter 7

proceeding is appropriate.” Id. at 722 n.1.

       The Sixth Circuit has described the means test and the calculations to determine whether

the presumption of abuse arises:

                        In 2005, the landscape for bankruptcy filings dramatically
               changed. Responding to a growing belief that “bankruptcy relief
               may be too readily available and is sometimes used as a first resort,
               rather than a last resort,” H.R. REP. NO. 109–31(I), at 4 (2005),
               and the prevalence of “opportunistic personal filings and abuse,”
               id. at 5, Congress enacted the BAPCPA in order to require above-
               median income debtors to make more funds available for the
               payment of unsecured creditors. As a result, higher-income
               debtors with the ability to repay a substantial portion of their debts
               without significant hardship are now required to do so by filing
               under Chapter 13 rather than Chapter 7.

                       The centerpiece of the Act is the imposition of a “means
               test” for Chapter 7 filers, which requires would-be debtors to
               demonstrate financial eligibility to avoid the presumption that their
               bankruptcy filing is an abuse of the bankruptcy proceedings. By its
               terms, the BAPCPA authorizes a bankruptcy court to dismiss a

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               debtor’s petition filed under Chapter 7 or, with the debtor’s
               consent, to convert such a petition to Chapter 13 “if it finds that the
               granting of relief would be an abuse of the provisions of [Chapter
               7].” 11 U.S.C. § 707(b)(1). Under this test, the first step instructs
               the bankruptcy court to compare the debtor’s annualized current
               monthly income to the median family income of a similarly sized
               family in the debtor’s state of residence. If the debtor’s current
               monthly income is equal to or below the median, then the
               presumption of abuse does not arise. 11 U.S.C. § 707(b)(7). If,
               however, it exceeds the median, the Act directs the court to
               recalculate the debtor’s income by deducting certain necessary
               expenses specified by the statute. Id. § 707(b)(2)(A)(ii). These
               reductions are derived from the national and local standards
               contained in the Internal Revenue Service’s Financial Analysis
               Handbook. Id.; see INTERNAL REVENUE SERV., INTERNAL
               REVENUE MANUAL, FINANCIAL ANALYSIS HANDBOOK
               (“IRS Handbook”), available at http://www.irs.gov/
               irm/part5/ch15s01.html.

                       Because of these deductions, eligibility under the new
               regime is calculated at least in part based on the state and county
               where the debtor resides. The housing expense deduction, for
               example, is governed by the county where the debtor resides. Id. §
               5.15.1.7(4)(A). [Footnote 2: The BAPCPA also permits a debtor to
               deduct additional expenses for food, clothing, housing, utilities,
               health insurance, disability insurance, health savings accounts, and
               certain educational expenses, so as long as the debtor demonstrates
               that those additional allowances are reasonable and necessary. 11
               U.S.C. § 707(b)(2)(A)(ii).] Although the national standards, which
               identify amounts for “food, housekeeping supplies, apparel and
               services, and personal care products and services,” and a fixed
               “miscellaneous” amount, id. § 5.15.1.7(3), are mostly uniform
               throughout the United States, the local standards, which define
               amounts for housing and transportation, vary greatly. If after
               deducting these necessary expenses and specified amounts, the
               debtor’s current monthly income exceeds certain mathematical
               benchmarks, then the presumption of abuse arises. 11 U.S.C. §
               707(b)(2)(A)(i).

Schultz v. United States, 529 F.3d 343, 347 (6th Cir. 2008).

       If the result of the means test is that the presumption of abuse arises, the debtor may

attempt to rebut that presumption, but only under the detailed rules set forth in § 707(b)(2)(B).

To summarize these statutory provisions, a debtor may only rebut the presumption of abuse by

                                                 5
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establishing, under oath and with “a detailed explanation” and supporting documentation, all of

the following:

       •    that there are “special circumstances, such as a serious medical condition or a call or
            order to active duty in the Armed Forces, to the extent such special circumstances that
            justify additional expenses or adjustments of current monthly income for which there
            is no reasonable alternative;”

            and

       •    that such “additional expenses or adjustments to income,” when applied to the
            debtor’s means test numbers, changes the end result of the means test to a level at
            which the presumption of abuse no longer arises.

See 11 U.S.C. § 707(b)(2)(B)(i)-(iv).

       2. Application of the means test in this case

       a. Debtors’ means test numbers

       In this case, the Debtors admit that the presumption of abuse arises under § 707(b)(2), but

they contend that they have rebutted that presumption. The UST disputes the numbers entered by

the Debtors on several lines of their means test form, and disputes that Debtors have rebutted the

presumption of abuse. The Court will discuss the points of dispute, one by one.

       In this case, the Debtors initially filed their means test form, Official Form 22A, and then

amended that form once, before the UST filed his Motion.5 After the Motion was filed, Debtors

amended their means test form three more times.6 The Debtors filed their last amended means

test form shortly before the Court held the evidentiary hearing, and that is the form the Court will

discuss in this opinion, and use in deciding the Motion.7

       The Debtors’ means test form shows a total “Current Monthly Income for [purposes of


       5
           Docket ## 12, 33.
       6
           Docket ## 42, 48, 60.
       7
           Docket # 60.

                                                    6
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the] § 707(b)(7)” exclusion (the “initial CMI”), on line 12, of $11,545.39. This is comprised of

an initial CMI for Columbo Maura of $5,965.50 plus an initial CMI for Lisa Maura of

$5,579.89.8 The Debtors’ total initial CMI, on annual basis, equals $138,544.68.9 This is well

above the median family income for Michigan, for a family of 5, of $82,058.00. As a result, the

exclusion of § 707(b)(7) does not apply,10 and the Debtors had to complete the rest of the means

test form, namely, Parts IV (“Calculation of Current Monthly Income for § 707(b)(2)”); V

(“Calculation of Deductions from Income”), VI (“Determination of § 707(b)(2) Presumption”);

and VII (“Additional Expense Claims”).

        In Part V of the means test form, lines 19A through 47, the Debtors listed numerous items

of monthly expenses, totaling $11,243.76. Subtracting that monthly expense total from Debtors’

monthly initial CMI ($11,545.39), left a positive balance of $301.63 per month. This number

appears on line 50, and is called the “[m]onthly disposable income under § 707(b)(2)” (referred

to below as the “line 50 amount”). When multiplied by 60, that amount equals $18,097.80 (line

51). Because that number exceeds $11,725.00, the presumption of abuse arises under

§ 707(b)(2) (see lines 51, 52).

        Debtors’ means test form acknowledged that the presumption of abuse arises, but Debtors

attempted to rebut that presumption by pointing to an additional monthly expense that they listed

in Part VII of the means test form, labeled “Additional Expense Claims.” In that Part VII, on line

56, which is labeled “Other Expenses,” Debtors listed an expense for “Catholic School for

Children” in the amount of $900.00 per month. Debtors argue that because of this expense, they


        8
             Id.at 2-3, lines 11, 12.
        9
             Id. at 3, lines 13, 14.
        10
           Under § 707(b)(7), essentially, if the Debtors’ initial CMI on an annualized basis were less
than the applicable median family income, no motion to dismiss under § 707(b)(2) could be filed.

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have rebutted the § 707(b)(2) presumption of abuse.

       In order to rebut the presumption, Debtors must demonstrate that their claimed additional

monthly expense is of the type that may be considered under the “special circumstances”

provision in § 707(b)(2)(B)(i); and if so, that when the additional expense amount is subtracted

from Debtors’ line 50 amount, it changes that amount to a level at which the presumption of

abuse no longer arises. See 11 U.S.C. § 707(b)(2)(B)(i)-(iv).

       As applied to the numbers on Debtors’ means test form in this case, this means that

Debtors must show a “special circumstances” expense that when subtracted from Debtors’ line

50 amount of $301.63, results in a monthly number of $195.41 or less. (The latter number is

derived by dividing $11,725.00 by 60). See 11 U.S.C. §§ 707(b)(2)(A)(i)(II), 707(b)(2)(B)

(iv)(II). If Debtors fail to prove this, then they have failed to rebut the presumption of abuse

under § 707(b)(2).

       If Debtors do prove this, then a further calculation may be needed before they can be

found to have rebutted the presumption. Line 55 of the means test form refers to this as the

“[s]econdary presumption determination.”11 That further calculation would be needed here only

if the Debtors’ line 50 amount, after subtracting any qualifying “special circumstances” expense,

is greater than $117.08 per month (and, of course, equal to or less than $195.41 per month.) (The

$117.08 per month number is derived by dividing $7,025.00 by 60. See 11 U.S.C. §§ 707(b)

(2)(A)(i)(I), 707(b)(2)(B)(iv)(I)). If Debtors’ adjusted line 50 amount falls below $117.08 per

month, Debtors rebut the presumption. But if Debtors’ adjusted line 50 amount falls at or above

that amount, they rebut the presumption of abuse only if their adjusted line 50 amount, when

multiplied by 60, is less than 25 % of their total “nonpriority unsecured claims in the case.” See


       11
            See Docket # 60 at 7, line 55.

                                                  8
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11 U.S.C. § 707(b)(2)(A)(i)(I); 707(b)(2)(B)(iv)(I).12

        Thus, if all of the numbers in Debtors’ mean test form are accurate and appropriate —

something the UST disputes — Debtors cannot rebut the presumption of abuse unless they first

prove “special circumstances” expenses of at least $106.22 per month ($301.63 minus $195.41 =

$106.22). And if they succeed in proving this, Debtors then must prove that they also pass the

secondary presumption determination, described above.

        Debtors argue that they have met their burden of proof, based among other things on the

$900.00 per month Catholic school tuition expense. If this expense is allowed in full as a

“special circumstance,” it would reduce Debtors’ $301.63 monthly disposable income to below

zero, and this would rebut the presumption of abuse. (In this event, the secondary presumption

determination described above would not apply.)

        The UST argues that the Debtors’ Catholic school tuition expense cannot be considered a

“special circumstances” expense, and therefore cannot rebut the presumption of abuse. And the

UST argues that several of the other numbers in Debtors’ means test form are not correct or

appropriate. When these numbers are adjusted appropriately, the UST argues, the Debtors fail to

rebut the presumption of abuse, even if the Catholic school tuition is allowed in full as a “special

circumstances” expense.

        The Court will now consider the means test numbers in dispute, including the Catholic

school tuition item.

        b. Lisa Maura’s initial CMI amount

        While it is not entirely clear, in closing argument after the evidentiary hearing, the UST


        12
            This secondary presumption calculation is reflected on lines 53-55 of the means test form,
which uses the phrase “total non-priority unsecured debt,” rather than the exact statutory phrase, quoted
above, i.e., total “nonpriority unsecured claims in the case.” (See Docket # 60 at 7).

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appears to have argued that Lisa Maura’s initial CMI amount, stated as $5,579.89 per month on

line 3 of Debtors’ means test form, is understated. The UST seems to have argued that the

correct amount for this item is $5,886.40 per month, i.e., $306.51 per month higher than Debtors’

means test form states.13 This argument is without merit. The higher number argued by the UST

is based on what Lisa Maura’s rate of pay was as of the date her bankruptcy petition was filed.14

But the relevant time for calculating a debtor’s initial CMI amount, which the Bankruptcy Code

refers to as “current monthly income,” is not as of the petition date. Rather, it is the average of

the last full six calendar months before the petition date. See 11 U.S.C.

§§ 707(b)(2)(A)(i) (using the term “current monthly income”); 101(10A)(A)(defining “current

monthly income”). “Current monthly income” is defined, in pertinent part, as:

                 the average monthly income from all sources that the debtor
                 receives (or in a joint case the debtor and the debtor’s spouse
                 receive) . . . derived during the 6-month period ending on—
                 (i) the last day of the calendar month immediately preceding the
                 date of the commencement of the case . . ..

11 U.S.C. § 101(10A)(A). In this case, the Debtors attached to their means test form a detailed

explanation of how they calculated the “current monthly income” for each of them.15 The

amount shown for Lisa Maura is based on the gross income that she earned during the relevant

six month period, as shown by her paystubs, divided by six. There is no evidence in the record

contradicting this, or tending to cast any doubt on it. The Court finds that in their means test

form, Debtors correctly stated the “current monthly income” (which is referred to sometimes in

this opinion above as the “initial CMI amount”) for Lisa Maura, as $5,579.89.



       13
            See Tr. (Docket # 84) at 33-34.
       14
            See id
       15
            Docket # 60 at 9; UST-10 at ninth page.

                                                      10
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           c. Line 22A: Debtors’ deduction for “Local standards: transportation; vehicle
              operation expense”

           On Line 22A of their means test form, Debtors listed a monthly expense of $882.00 for

the item called “Local standards: transportation; vehicle operation/public transportation

expense.” The statutory basis for this category of expense deduction (the “IRS Local

Transportation Expense”) is in the first sentence of 11 U.S.C. § 707(b)(2)(A)(ii)(I), which states:

                    The debtor’s monthly expenses shall be the debtor’s applicable
                    monthly expense amounts specified under the National
                    Standards and Local Standards, and the debtor’s actual monthly
                    expenses for the categories specified as Other Necessary Expenses
                    issued by the Internal Revenue Service for the area in which the
                    debtor resides, as in effect on the date of the order for relief, for the
                    debtor, the dependents of the debtor, and the spouse of the debtor
                    in a joint case, if the spouse is not otherwise a dependent.

(emphasis added). This lengthy statutory sentence refers to three categories of expenses

published by the Internal Revenue Service (the “IRS”): the “National Standards,” the “Local

Standards,” and the “Other Necessary Expenses.” The IRS Local Transportation Expense is one

of the expense categories contained in the IRS Local Standards. The Local Standards are

published on a website maintained by the IRS, and they also are reproduced on a UST website.16

It is undisputed that the IRS Local Standards applicable to this case17 allow an “Operating Costs”

amount of $294.00 per month for “One Car” and $588.00 per month for “Two Cars.”18 The

Local Standards do not state any other amounts or possible amounts, or refer to any other number

of cars.



           16
          See http://www.irs.gov/Businesses/Small-Businesses-&-Self-Employed/Local-Standards:
-Transportation; http://www.justice.gov/ust/eo/bapcpa/meanstesting.htm.
           17
           The amounts may vary by the time period when the bankruptcy case was filed, and by census
regions and particular metropolitan statistical areas within census regions.
           18
                See http://www.justice.gov/ust/eo/bapcpa/20100315/bci_data/IRS_Trans_Exp_Stds_MW.htm.

                                                       11
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        In claiming a monthly amount of $882.00 for this expense category, Debtors have

claimed an operating expense for each of three cars that they own,19 at $294.00 per car. The UST

argues that this is improper, because in listing allowable expenses only for “One Car” and for

“Two Cars,” the IRS Local Standards only allow an operating expense for a maximum of two

cars, in the maximum amount of $588.00. As a result, the UST argues, Debtors’ Line 22A

expense amount must be reduced by $294.00, from $882.00 to $588.00.

        Debtors argue that the IRS Local Standards allow for a Transportation Expense higher

than the Two Cars/$588.00 amount, in cases where the debtor’s necessary transportation

expenses are in fact higher. And Debtors argue that their expenses are higher. Debtors rely on

certain provisions in the IRS’s “Collection Financial Standards.” As the Supreme Court has

noted, the Collection Financial Standards are “the IRS’s explanatory guidelines to the National

and Local Standards.” See Ransom v. FIA Card Servs., N.A., 131 S. Ct. at 726.

        In one of their briefs, the Debtors cite the Collection Financial Standards, and put their

argument this way:

                The Trustee alleges that Columbo and Lisa Maura overstated their
                deduction for Motor Vehicles by $294.00. As noted in the IRS
                Local Transportation Expense Standards, “these standards do not
                include personal property taxes,” which can serve as deductions on
                the Means Test, whether in Line 22A or under Line 25. Nor does
                the standard deduction take into account the massive amount that
                Columbo Maura drives as a traveling salesman for Lipari Foods.
                Additionally, the IRS Standards 5.15.1.7 paragraph 6, states that
                “other expenses may be allowed if they meet the necessary expense
                test.” Further, IRS Standard 5.15.1.9(1)(8) states that
                “substantiation for the operating allowance is not required unless


        19
            When they filed this case, Debtors owned a 2004 Saturn Vue; a 2007 Ford Escape; and a 2008
Ford Taurus. (See Schedule B (Docket # 11), DX-B; UST-1). In their bankruptcy schedules, Debtors
also listed a fourth car, a 2004 Ford Freestar Van, which was seized by a secured creditor about four
months before the Debtors filed their bankruptcy case. Debtors listed this vehicle in their Schedule D
with a zero value, but did not list it at all in their Schedule B. (See Schedules B and D, and Statement of
Financial Affairs item 4(b) (Docket # 11 and DX-B and UST-1).

                                                    12
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                the amount claimed exceeds the standard.” Accordingly, the IRS
                Standards, which the Means Test is based upon, allow for
                operating expense in excess of local standards when necessary.
                Accordingly, this can be a deduction in Line 22A or in Part VII of
                the Means Test.20

        Before discussing Debtors’ primary argument about Line 22A, the Court will briefly

address one of the Debtors’ other arguments in the above-quoted passage. Even if Debtors were

correct in their argument that personal property taxes on their vehicles are additional expenses

that Debtors can add to their Line 22A transportation expense, or include in Line 25 of the means

test form, the argument is unavailing in this case, because Debtors presented no evidence that

they pay any personal property taxes on any of their vehicles.

        In considering Debtors’ primary argument, based on the Collection Financial Standards,

the Court must begin with what the Supreme Court said about the Collection Financial Standards

in Ransom. While Bankruptcy Code § 707(b)(2)(A)(ii)(I), quoted above, adopts the IRS’s

National Standards and Local Standards, the Supreme Court held that “the statute does not

incorporate the IRS’s guidelines.” See Ransom, 131 S.Ct. at 726. The Supreme Court’s

reference here to the IRS guidelines included the IRS’s Collection Financial Standards. The

Court discussed the limited use that courts may make of these IRS guidelines, in deciding what

expenses are allowable in the § 707(b)(2) context. The Court explained:

                Although the statute does not incorporate the IRS’s guidelines,
                courts may consult this material in interpreting the National and
                Local Standards; after all, the IRS uses those tables for a similar
                purpose — to determine how much money a delinquent taxpayer
                can afford to pay the Government. The guidelines of course cannot
                control if they are at odds with the statutory language.
                ...



        20
           Br. in Response to U.S. Trustee’s Br. in Support of Mot. (Docket # 49), at 11-12 (citations to
attached exhibits omitted).

                                                    13
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               Because the dissent appears to misunderstand our use of the
               Collection Financial Standards, and because it may be important
               for future cases to be clear on this point, we emphasize again that
               the statute does not “incorporat[e]” or otherwise “impor[t]” the
               IRS’s guidance. Post, at 730, 732 (opinion of SCALIA, J.). The
               dissent questions what possible basis except incorporation could
               justify our consulting the IRS’s view, post, at 732, n., but we think
               that basis obvious: The IRS creates the National and Local
               Standards referenced in the statute, revises them as it deems
               necessary, and uses them every day. The agency might, therefore,
               have something insightful and persuasive (albeit not controlling) to
               say about them.

131 S.Ct. at 726 & n.7.

       From this passage in Ransom, the Court draws the following conclusions about the IRS

guidelines, including the IRS Collection Financial Standards:

       •   Bankruptcy courts “may consult” the guidelines “in interpreting the National and
           Local Standards;” but

       •   The “statute,” i.e., Bankruptcy Code § 707(b)(2)(A)(ii)(I), “does not ‘incorporat[e]’ or
           otherwise ‘impor[t]’ the IRS’s guidance;” and

       •   The IRS guidelines “cannot control if they are at odds with the statutory language.”

       The problem with the Debtors’ argument, and their reliance on the IRS guidelines, is that

they are inconsistent with the language of § 707(b)(2)(A)(ii)(I). That section, quoted above, says

in pertinent part that the expenses to be included in the means test “shall be the debtor’s

applicable monthly expense amounts specified under the National Standards and Local

Standards . . ..” (emphasis added). Under this language, the Line 22A Transportation Expense

can be no higher than the “monthly expense amounts specified” in the IRS Local Standards. As

noted above, the IRS Local Standards “specify” two, and only two, possible amounts for the Line

22A Transportation Expense, other than zero. These are a specific dollar amount for “One Car”




                                                 14
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($294.00) and a specific dollar amount for “Two Cars” ($588.00).21 The Local Standards do not

specify any amount for three cars. Nor do they specify any amounts that may be added if a

particular debtor owns and operates more than two cars, or if a particular debtor has

transportation expenses that are higher than the amounts specified for “One Car” and for “Two

Cars.”

         In this case, therefore, Debtors may deduct a line 22A expense amount for the maximum

“Two Cars” amount of $588.00, and no more, because they operate two cars or more. That is the

Local Standards expense amount that is “applicable” to the Debtors, rather than the lower “One

Car” amount, because the Debtors actually operate two cars or more. See Ransom, 121 S.Ct. at

724 (an expense amount specified in the IRS Local Standards is “applicable” to a debtor if the

debtor actually has expenses in that category of the Local Standards; i.e., “[a] debtor may claim a

deduction from a National or Local Standard table (like ‘[Car] Ownership Costs’) if but only if

that deduction is appropriate for him. And a deduction is so appropriate only if the debtor has

costs corresponding to the category covered by the table . . ..”).22

         The Debtors’ argument, that they can take a vehicle operating expense amount higher

than the “Two Cars” amount of $588.00, finds no support in the IRS Local Standards themselves.

Debtors cite as support only the IRS Collection Financial Standards. To the extent those



         21
           As noted above, these specific dollar amounts for “One Car” and for “Two Cars” may vary by
region of the country. But for each region they are specific, fixed amounts.
         22
            Ransom did not directly concern the IRS Local Standards for the Transportation Expense
(Line 22A of the means test form). The Court did refer briefly to this expense, as vehicle “Operating
Costs.” See 131 S. Ct. at 725-26. The issue in Ransom concerned the IRS Local Standards vehicle
ownership expense, Line 23 of the means test form. Ransom held that this expense item concerned the
costs of a car loan or lease, and nothing else, and that a debtor who owns a car free and clear of any car
loan or lease cannot claim this category of expense. The Court reasoned that such an expense is not
“applicable” to such a debtor, within the meaning of Bankruptcy Code § 707(b)(2)(A)(ii)(I). See 131 S.
Ct. at 724-26.

                                                    15
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Collection Financial Standards support the Debtors’ argument, however, they cannot control.

This is because (1) as discussed above, Ransom held that Bankruptcy Code § 707(b)(2)(A)(ii)(I)

“does not ‘incorporat[e]’ or otherwise ‘impor[t]’” the Collection Financial Standards; and (2) for

the reasons discussed above, the Debtors’ argument is, to borrow a phrase from Ransom, “at odds

with the statutory language” of § 707(b)(2)(A)(ii)(I).

       The Debtors have cited no case that supports their argument about the Line 22A expense.

But there is now at least one published case that does support Debtors’ argument. In In re

Johnson, 454 B.R. 882 (Bankr. M.D. Fla. 2011) the Chapter 7 debtor owned three cars, and

claimed a Line 22A vehicle operating expense for all three cars. The debtor claimed the Local

Standards amount of $239.00 per vehicle for the two newest of his cars, as permitted by the IRS

Local Standards applicable to the region and date of that bankruptcy case, plus a Line 22A

operating expense amount of $200.00 for the third car. In seeking dismissal of the case, the

United States Trustee argued that the debtor could not claim an operating expense for the third

car. See Johnson, 454 B.R. at 884-85. The United States Trustee moved for summary judgment

on its motion to dismiss. The bankruptcy court denied that motion. The court relied on language

in the IRS guidelines, including the Collection Financial Standards and the IRS’s Internal

Revenue Manual, to hold that a Debtor may claim an operating expense for a third car, if the

third car “is reasonably necessary for the care and support of the Debtor and the Debtor’s

dependents.” See id. at 894.

       This Court respectfully disagrees with the Johnson case, for the reasons stated above.

And the Court agrees with the approach taken by the bankruptcy court in another case, In re

VanDyke, 450 B.R. 836 (Bankr. C.D. Ill. 2011). In VanDyke, the Chapter 13 debtor claimed an

operating expense for two cars she owned, as permitted by the IRS Local Standards, plus an extra


                                                16
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$200 monthly operating expense on one of the cars — referred to by the court as an “old-car”

deduction. The debtor relied on language in the IRS Internal Revenue Manual. The VanDyke

court disallowed the $200 expense, holding that the debtor was limited to the operating expense

amounts stated in the IRS Local Standards.

       While VanDyke did not involve the third-car issue, unlike this case and the Johnson case,

the VanDyke court’s reasoning supports this Court’s view of the third-car issue:

               The Bankruptcy Code’s directive is clear: the debtor’s monthly
               expenses “shall be the debtor’s applicable monthly expense
               amounts specified under the . . . Local Standards . . . issued by the
               Internal Revenue Service.” The National and Local Standards
               referred to in section 707(b)(2)(A)(ii)(I) are not contained in the
               Collection Financial Standards, but are separately set forth in a
               series of tables. The language of the statute is plain and the
               numbers in the charts are fixed amounts. The National and Local
               Standards are the key elements in establishing a uniform formula to
               calculate a debtor’s disposable income, supplanting the pre-
               BAPCPA case-by-case determination with its perceived
               inconsistencies and unfairness.

                       Ransom precludes resort to the IRS guidelines because the
               additional operating expense directly contradicts the language of
               the Bankruptcy Code. The “additional operating expense,” as it is
               sought to be applied to all debtors who own an unencumbered
               vehicle older than 6 years or having mileage in excess of 75,000
               miles, comes in the guise of a supplement to the Local Standards
               for vehicle operation expense. No reference is made to it in the
               tables. It is a separate adjustment which is not a part of the Local
               Standards. . . . The allowance of an additional amount as set forth
               in the IRS guidelines is not a matter of interpretation of the Local
               Standards for transportation, but one of its revision.

450 B.R. at 841-42 (emphasis added)(footnotes and citations omitted).

       For the reasons stated above, the Court concludes that Debtors’ Line 22A deduction for

the vehicle operating expense cannot exceed $588.00. The $882.00 the Debtors claimed on Line

22A, therefore, must be reduced by $294.00.

       d. Line 26: Debtors’ deduction for “Other Necessary Expenses: involuntary

                                                17
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            deductions for employment”

       On Line 26 of their means test form, Debtors list a monthly expense of $393.00 for the

item called “Other Necessary Expenses: involuntary deductions for employment.” The

instructions on this line of the means test form state the following: “Enter the total average

monthly payroll deductions that are required for your employment, such as retirement

contributions, union dues, and uniform costs. Do not include discretionary amounts, such as

voluntary 401(k) contributions.” (Bold emphasis in original). The monthly payroll deductions

that are included in the $393.00 amount are the following:

       For Debtor Columbo Maura:

       “401k loan”                    $75.00
       “Wireless Modem”               $42.00

       For Debtor Lisa Maura:

       “403B”                         $150.00
       “Retirement Loan #1”           $50.00
       “Retirement Loan #2”           $74.00

These items actually total $391.00 per month, rather than the $393.00 that Debtors state on Line

26. The above numbers, and the descriptions of the items listed above, are taken from the

Debtors’ most recent amended Schedule I, which Debtors filed the same day they filed their most

recent amended means test form.23

       The UST objects to inclusion of all of these monthly expenses in Line 26 of the Debtors’

means test form, except for the $42.00 expense for the wireless modem. The testimony of

Debtor Columbo Maura proved, and the UST does not dispute, that the deduction from Mr.

Maura’s paycheck by his employer for the cost of a wireless modem is required by Mr. Maura’s


       23
           See DX-E (Docket # 59) at pdf p.14 (amended Schedule I); UST-10 (Docket # 60) at pdf p.4
(Line 26, means test form).

                                                 18
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employer.

       It is undisputed that the $150.00 per month “403B” item listed above is for a voluntary

contribution to Lisa Maura’s retirement plan. It is clear that this payroll deduction by Lisa Maura

is not required by her employer. As the last sentence of the instructions for Line 26 of the means

test form states, in bold, “[d]o not include discretionary amounts such as voluntary 401(k)

contributions.” Lisa Maura’s “403B” contributions are like voluntary 401(k) contributions in

this context, and are not a proper Line 26 expense.

       The remaining items are deductions for the repayment of loans taken by Columbo Maura

from his 401(k) plan and by Lisa Maura from her 403(b) retirement plan. The UST argues that

none of these loan repayments are mandatory or involuntary deductions that are required for the

Debtors’ employment. As a result, the UST argues, these amounts are not properly included in

Line 26 of the means test form.

       The Court agrees with the UST. Many cases have held that a debtor’s 401(k) loan

repayments are not involuntary payroll deductions required for employment, and therefore are not

properly included in Line 26. See, e.g., In re Egebjerg, 574 F.3d 1045, 1051 (9th Cir. 2009); In

re Koch, 408 B.R. 539, 543 (Bankr. S.D. Fla. 2009); In re Barker, 2013 WL 796171 (Bankr.

N.D. Ohio 2013) at *3, 4.

       The payroll deductions for Columbo Maura’s repayment of his 401(k) loan and for Lisa

Maura’s repayment of her two 403(b) loans are not required for either Debtor's employment, and

thus are not permissible deductions on Line 26. It may be commonplace for such retirement plan

loans to be repaid through periodic payroll deductions, and it may even be commonplace for

employer retirement plans to require an employee to authorize such repayment through payroll

deductions as a condition to obtaining a loan. But the Debtors have not presented any evidence


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of either of these things, or that either of these things is true with respect to their retirement plan

loans.

         And even if the Court assumes these things to be so, the Debtors presented no evidence

that they cannot revoke or terminate any authorizations they previously gave for payroll

deductions to repay these loans. To the contrary, the only evidence in the record on this subject

indicates otherwise.

         The Debtors presented no documentation or evidence on this subject regarding Columbo

Maura's 401(k) loan. With respect to Lisa Maura's 403(b) loans, the only documentation

presented is Debtors’ Exhibit M, which consists of two loan agreements between Lisa Maura on

the one hand and her employer’s 403(b) retirement plan on the other hand. Each two-page

document is entitled “Loan Note and Security Agreement.” One has a “date of note” of

November 26, 2008, while the other has a “date of note” of July 31, 2009. The more recent of

these loan agreements expressly authorizes Lisa Maura's employer to withhold the required loan

payments from her compensation, “on an equal BI-WEEKLY installment basis.”24 Nothing in

this document suggests that such authorization is irrevocable. Rather, the document

contemplates that the employee can later revoke her authorization for loan payments through

payroll deduction, even though remaining in active employment. The document states that the

entire unpaid balance of the 403(b) loan would become immediately due and payable, at the

option of the 403(b) retirement plan, if, among other grounds, “[m]y authorization to my

Employer to withhold [the loan payment] from my compensation is revoked by me or becomes

invalid even though I continue to remain in active employment.”25 The other Loan Note and


         24
              See DX-M, second page, top paragraph of text.
         25
              Id. at second page, “Acceleration; Default” section, item 4.

                                                       20
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Security Agreement in Exhibit M, the one dated November 26, 2008, does not contain any

authorization for payroll deduction at all. And nothing in that document indicates that if the

employee separately authorizes a payroll deduction as the means of loan repayment, such

authorization could not be later revoked by the employee.26

       Debtors argue that Lisa Maura’s 403(b) voluntary contribution of $150.00 per month is

necessary to take advantage of her employer’s program of making matching contributions.27

Even if that is true, it does not make Lisa Maura's 403(b) contributions involuntary or mandatory,

or required for her employment. Rather, it is undisputed that Lisa Maura could elect not to make

any 403(b) contributions through payroll deduction, without any adverse effect on her

employment.

       Finally, Debtors point out that if they did not make Lisa Maura's voluntary 403(b)

contributions, or if they did not make their periodic retirement plan loan payments, they would

suffer adverse tax consequences, thereby increasing their tax expense.28 And they say that this, in

turn, would result in a higher permissible expense deduction on Line 25 of the means test form

(“Other Necessary Expenses: Taxes.”) But the flaw in this argument is that there is no evidence

that the Debtors actually had stopped making Lisa Maura's voluntary 403(b) contributions or

actually had stopped making their 401(k) and 403(b) loan payments. So, the Debtors presented

no evidence that they actually had begun to incur the higher tax liability that would be caused by

such actions. The mere fact that these items are disallowed as Line 26 involuntary payroll

deduction expenses does not mean that the Court should assume that the Debtors will no longer



       26
            DX-M, third and fourth pages.
       27
            See, e.g, Debtors' Br. (Docket # 49) at 13.
       28
            Id.

                                                     21
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incur these expenses and will increase their tax liability that can be claimed on Line 25. And as

the instructions on Line 25 say, a debtor can claim only taxes the debtor “actually incur[s].”

       For these reasons, the Court agrees with the UST that the Debtors’ permissible expense

amount for Line 26 of the means test form is $42.00, not the $393.00 claimed by Debtors. This

reduces the total amount of expense deductions the Debtors may take on their means test form by

$351.00 per month.

       e. Line 34(c): Debtors’ deduction for “Health Savings Account”

       The next area of dispute concerns Line 34 of the means test, which is for “Health

Insurance, Disability Insurance, and Health Savings Account Expenses.” On Line 34(c), Debtors

listed an expense amount of $347.00 per month for “Health Savings Account.” This expense,

when added to the expense Debtors listed on Line 34(a) for “Health Insurance” of $456.00 per

month, yields a total Line 34 expense of $803.00 per month.

       It is undisputed that the Debtors each have health savings accounts through their

employment; that Debtor Columbo Maura contributes $121.00 per month to his account; and that

Debtor Lisa Maura contributes $226.00 per month to her account. These contributions are done

through payroll deductions, and total $347.00 per month.29 The UST objects to the Debtors

listing the full $347.00 amount in Line 34(c), however, on the ground that this amount

impermissibly duplicates the $300.00 per month expense claimed by Debtors on Line 19B of the

means test form, which is labeled “National Standards: health care.” According to the UST, the

correct amount that Debtors may deduct on Line 34(c) is only $47.00 — $347.00 minus the

$300.00 already deducted on Line 19B.



       29
          These amounts are taken from the Debtors’ most recent amended Schedule I, DX-E (Docket #
59) at pdf p.14.

                                                22
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       As discussed below, Debtors do not really dispute this. And the Court agrees with the

UST. The instructions right above Line 34 on the means test form, which labels that section of

the form “Subpart B: Additional Living Expense Deductions,” correctly state in bold: “Note: Do

not include any expenses that you have listed in Lines 19-32.” (Bold emphasis in original).

The Line 19B expense deduction is for out-of-pocket health care expenses — i.e., healthcare

expenses not paid for by health insurance — and does not include the cost of purchasing health

insurance. For that reason, the National Standards for Line 19B say that “[t]he out-of-pocket

health care standard amount is allowed in addition to the amount taxpayers pay for health

insurance.” See National Standards, available at http://www.justice.gov/ust/eo/bapcpa/

20100315/meanstesting.htm.

       Thus, it is not an impermissible duplication for Debtors to have included the $456.00 per

month cost of health insurance on Line 34(a) of the means test form, in addition to the $300.00

Line 19B amount for out-of-pocket health care expense. The same is not true, however, for the

Line 34(c) expense for Debtors’ health savings accounts. That is because the monthly amount

that Debtors contribute to their health savings accounts is later reimbursed to them — in effect,

spent by them — for out-of-pocket health care expenses. This is undisputed, and it is confirmed

by the testimony of Lisa Maura, and by annual account statements from each of the Debtors’

health savings accounts.30 Thus, the $300.00 expense claimed by Debtors in Line 19B, which is

the National Standards amount for out-of-pocket health care expenses for a family of the

Debtors’ size, impermissibly duplicates $300.00 of the $347.00 Line 34(c) expense claimed by

Debtors for their health savings accounts.

       At the evidentiary hearing, Debtors did not actually dispute this. Instead, Debtors’


       30
            See testimony of Lisa Maura, Tr. (Docket # 85) at 73-75; DX-S, DX-T.

                                                  23
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counsel argued in closing argument only that if the Debtors reduced their health savings account

contributions by $300.00, to only $47.00 per month, Debtors would have a higher tax liability,

which then would increase their deduction for “Other Necessary Expenses: Taxes” on Line 25 of

the means test form.31 This is very similar to the argument Debtors made with respect to their

Line 26 403(b) and 401(k) contributions and loan repayments, discussed above. This tax

argument is also without merit in this Line 34(c) context, for the same reasons discussed above.

Because Debtors did not argue or present any evidence that they actually had reduced or ceased

making their health savings account contributions, there is no evidence that Debtors actually have

incurred the higher tax liability that would be associated with such a change. Thus, the Court’s

disallowance of $300.00 of Debtors’ $347.00 monthly contributions to their health savings

accounts, as a Line 34(c) expense, does not permit Debtors to increase their Line 25 deduction

for taxes.

        For these reasons, the Court agrees with the UST that the Debtors’ permissible expense

amount for Line 34(c) must be reduced to $47.00 for a net reduction of $300.00 per month in

expense deductions that Debtors may take on their means test form.

        3. Debtors’ efforts to rebut the presumption of abuse with “special circumstances”

        As discussed above, the total of the expense deductions that Debtors are allowed under

§ 707(b)(2), as shown by their means test form, must be reduced by the total amount of $945.00

per month. This is the sum of the reductions that the Court has found to be required for Lines

22A ($294.00), 26 ($351.00) and 34(c)($300.00).

        This reduction in allowable expenses changes the total amount of expenses on Lines 47

and 49 of the means test form, from the $11,243.76 per month claimed by Debtors to $10,298.76.


        31
             See Tr. (Docket # 84) at 4-5.

                                                  24
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This, in turn, increases the Debtors’ “[m]onthly disposable income under § 707(b)(2)” on Line 50

from $301.63 per month to $1,246.63 per month. When this number is multiplied by 60, the

Line 51 amount — i.e., the “60 month disposable income under § 707(b)(2)” — increases from

$18,097.80 to $74,797.80. This, of course, is much further above the $11,725.00 amount, above

which the presumption of abuse arises.

       As explained in more detail in part III.A.2.a of this opinion, in order to rebut the

presumption of abuse, Debtors must show “special circumstances” of the type described in

§ 707(b)(2)(B), which justify adjustments to the Debtors’ income or expenses, and the amount of

which bring the Line 52 amount to below $11,725.00. Then, if applicable, Debtors must also

pass the “secondary presumption determination,” discussed in part III.A.2.a of this opinion.

       To try to rebut the presumption of abuse, Debtors have argued two forms of alleged

“special circumstances.” First, Debtors point to their $900.00 per month expense to send their

children to Catholic schools, rather than to public schools. Second, Debtors point to the fact that

Lisa Maura has an obligation to repay student loans in the amount of $205.00 per month (loans

that are generally nondischargeable under 11 U.S.C. § 523(a)(8)). The Court will now discuss

these claimed special circumstances.

       a. The concept of “special circumstances”

       As noted in part III.A.1 of this opinion, the types of “special circumstances” that may be

used by a debtor to rebut the § 707(b)(2) presumption of abuse are these:

               the presumption of abuse may only be rebutted by demonstrating
               special circumstances, such as a serious medical condition or a call
               or order to active duty in the Armed Forces, to the extent such
               special circumstances that justify additional expenses or
               adjustments of current monthly income for which there is no
               reasonable alternative.

11 U.S.C. § 707(b)(2)(B)(i). The phrase “special circumstances” is not defined in the

                                                 25
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Bankruptcy Code, and the courts have taken varying views on what may qualify as “special

circumstances.” See, e.g., In re Harmon, 446 B.R. 721, 728 (Bankr. E.D. Pa. 2011)(summarizing

the differing views and citing cases). The Court agrees with the stricter view expressed in a

number of the cases. That view is explained and supported, for example, by the court in In re

Lightsey, 374 B.R. 377 (Bankr. S.D. Ga. 2007). Lightsey held that to qualify as a “special

circumstance,” among other things, the circumstance must be “unforeseeable or beyond the

control of the debtor.” 374 B.R. at 382. The Lightsey court explained:

               The [“special circumstances”] exception does not permit every
               conceivable unfortunate or “unfair” circumstance to rebut the
               presumption of abuse, but includes only those circumstances that
               cause higher household expenses or adjustments of income “for
               which there is no reasonable alternative,” i.e., they are
               unforeseeable or beyond the control of the debtor. . . . In re
               Sparks, 360 B.R. 224, 230 (Bankr.E.D.Tex. 2006)(“The special
               circumstances exception] must be strictly construed to allow
               only those expenses which are truly unavoidable to the
               debtor.”); In re Tranmer, 355 B.R. 234, 251
               (Bankr.D.Mont.2006)(“Section 707(b)(2)(B)’s ‘special
               circumstances’ contemplates circumstances beyond a debtor’s
               reasonable control.”). As one court cogently observed:

                      Under the statutory interpretation canon of ejusdem
                      generis, a court is to limit the sphere of permissible
                      “special circumstance” to one’s having such similar
                      traits and characteristics. This interpretive doctrine,
                      meaning literally “of the same kind,” holds that a
                      court is to interpret legislatively provided examples
                      of a specific nature as typical of the general category
                      covered. U.S. v. Parson, 955 F.2d 858, 869 fn. 15
                      (3rd Cir. 1992). . . .

               . . . To qualify, the “special circumstance” must affect a debtor’s
               ability to repay because there are “additional expenses” or a
               reduction in [Current Monthly Income], and there must be no
               reasonable alternative available to the debtor to avoid such extra
               expense or reduction in income. . . . Only documented income
               reductions or unusual living expenses, excluding debt repayment,
               qualify.


                                                26
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374 B.R. at 381-83 (emphasis added)(footnotes and some citations omitted). A similar view was

taken by the court in In re Burggraf, 436 B.R. 466, 471-72 (Bankr. N.D. Ohio 2010). Quoting in

part from several other cases, the Burggraf court held that “special circumstances” “normally”

require that the circumstances be “beyond the debtor’s control,” or otherwise be “highly unusual,

and of the type not normally encountered by most debtors;” “extraordinary or exceptional;” and

“unexpected or involuntary.” See 436 B.R. at 472. The court explained:

                       The Bankruptcy Code does not specifically define what
               constitutes a “special circumstance” as applied to §
               707(b)(2)(B)(i). This provision, however, does provide two
               examples: (1) a serious medical condition; or (2) a call to active
               duty in the Armed Forces. Although these conditions are not
               exclusive, this Court—applying the statutory interpretation canon
               of ejusdem generis, meaning literally “of the same kind,”—has
               found that a condition giving rise to a “special circumstance”
               should be similar in nature and have characteristics similar to the
               examples provided in § 707(b)(2)(B)(i). In re Castle, 362 B.R.
               846, 851 (Bankr.N.D.Ohio 2006). To this end, this Court has
               observed that the examples in § 707(b)(2)(B)(i) “do show a
               commonality [in that] they both constitute situations which not
               only put a strain on a debtor’s household budget, but they arise
               from circumstances normally beyond the debtor’s control.” Id.
               ...

                       Notwithstanding, nothing in § 707(b)(2)(B)(i) absolutely
               requires that a ‘special circumstance’ arise as the result of an event
               beyond the debtor’s reasonable control. Thus, the Court will not
               read into § 707(b)(2)(B)(i) an involuntariness prerequisite. At the
               very least, however, it may be safely stated that a debtor who
               requests a finding of “special circumstances” seeks preferential
               treatment over other similarly situated debtors. . . .

                      Thus, it follows that, where the circumstances are not
               involuntary, the “special circumstances” contemplated by
               § 707(b)(2)(B)(i) must be highly unusual, and of the type not
               normally encountered by most debtors. As stated by one
               bankruptcy court:

                      Both a reading of the plain unambiguous language
                      of 11 U.S.C. Section 707(b)(2)(B) and the BAPCPA
                      legislative history lead to the same result: A debtor

                                                 27
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                         asserting “special circumstances” in support of
                         additional expenses or income adjustment must
                         establish the circumstances are extraordinary or
                         exceptional, are unexpected or involuntary, and
                         place the debtor in dire need of Chapter 7 relief.

                 In re Stocker, 399 B.R. [522,] 532 [(Bankr.M.D.Fla. 2008)].

In re Burggraf, 436 B.R. at 471-72 (emphasis added)(some citations omitted).

       The Court agrees with the strict view of “special circumstances,” as set forth in the

Lightsey and Burggraf cases, as being most faithful to the statutory language in § 707(b)(2)(B)(i),

quoted above, and to the Congressional purpose in adding current § 707(b)(2) to the Bankruptcy

Code in 2005, discussed in part III.A.1 of this opinion.

       b. Lisa Maura’s student loan payments

       The evidence is undisputed that Lisa Maura is obligated to repay student loans, in the

amount of $205.00 per month. In closing argument at the evidentiary hearing, Debtors’ counsel

acknowledged that “there’s nowhere in the means test to account for that.” But, Debtors’ counsel

suggested, this expense could be a “special circumstance” to help rebut the presumption of

abuse.32

       The Court disagrees. The Court agrees with the cases holding that a debtor’s obligation

to make student loan debt payments is not a “special circumstance” of the type that qualifies

under § 707(b)(2)(B). See, e.g., Burggraf, 436 B.R. at 472-74; Lightsey, 374 B.R. at 381-82 n.3

(dictum).

       Applying the standards of the Lightsey and Burggraf cases, discussed above, Lisa

Maura’s obligation to repay her student loan debt, at the rate of $205.00 per month, is not

“unforeseeable” or “unexpected;” is not “beyond the control of the debtor” or “involuntary.” Nor


       32
            See Tr. (Docket # 84) at 5.

                                                 28
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is it “highly unusual, and of the type not normally encountered by most debtors;” or

“extraordinary or exceptional.” Rather, like the student loan debt in the Burggraf case, Lisa

Maura’s student loan debt was incurred by her “in a deliberate manner;” and “among debtors

who seek bankruptcy relief, student loans are commonplace. As a consequence, such loans

hardly rise to the level of an unusual, extraordinary or exceptional circumstance.” Burggraf, 436

B.R. at 472, 474.

        Nor does the fact that student loan debt is generally nondischargeable under 11 U.S.C.

§ 523(a)(8)33 make it a “special circumstance” under § 707(b)(2)(B). As the court noted in

Lightsey,

                If non-dischargeability was the standard for a special
                circumstance, Congress would have said so. Those courts
                concluding that “special circumstances” include non-dischargeable
                student loan obligations arguably will have to apply this standard
                to every other non-dischargeable obligation, [including] debts
                arising not only from student loans but also from fraud,
                embezzlement, DUI, and the like. See 11 U.S.C. §§ 523 and
                1328(a). Every one of these non-dischargeable obligations could
                qualify as debts for which a debtor has no reasonable alternative
                but to continue payments to avoid economic harm, and there is no
                suggestion in Section 707(b)(2)(B) that courts have been delegated
                the policy decision of deciding that some non-dischargeable debts
                are “good” and some are “bad” so as to permit treating some but
                not all as a “special circumstance.”

374 B.R. at 381-82 n.3.

        c. Catholic school tuition

        The Debtors’ primary argument in attempting to rebut the presumption of abuse is that



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           Student loan debt is nondischargeable, in cases under Chapter 7 and Chapter 13, and in
Chapter 11 cases where the debtor is an individual, unless “excepting such debt from discharge . . .
would impose an undue hardship on the debtor and the debtor’s dependents.” See 11 U.S.C. §§
523(a)(8); 1328(a)(2); and 1141(d)(2). Under the standards established by case law, demonstrating such
“undue hardship” is difficult. See, e.g., Oyler v. Educ. Credit Mgmt. Corp. (In re Oyler), 397 F.3d 382,
385 (6th Cir. 2005).

                                                   29
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the $900.00 per month that Debtors spend to send their children to Catholic schools is a “special

circumstance” under § 707(b)(2)(B). This $900.00 is the amount that was claimed by Debtors on

their means test form, and in their most recent amended Schedule J.34 The UST has not disputed

that Debtors actually spend this amount to send their two younger children to Catholic schools.

During the evidentiary hearing, Lisa Maura testified that for the following school year the tuition

expense for her two younger children would total $13,140.00, which equates to $1,095.00 per

month.35

       Regardless of which monthly expense amount is used, $900.00 or $1,095.00, the Court

agrees with the UST that this parochial school expense does not qualify as a “special

circumstance” that may be used to help rebut the presumption of abuse. This is so for the

following reasons.

       First, to qualify as such “special circumstances,” the statute requires that the

circumstances “justify additional expenses. . . for which there is no reasonable alternative.” 11

U.S.C. § 707(b)(2)(B)(i). Assuming that parochial school tuition may ever be considered

“special circumstances” within the meaning of this statute, the Debtors in this case have failed to

meet their burden of proving that “there is no reasonable alternative” to paying to send their

children to Catholic schools. The UST presented detailed, uncontradicted testimony from their

expert witness, Paul Smith, which demonstrated that the Dearborn Public Schools, which

Debtors’ children could attend tuition-free, are clearly a reasonable alternative to the Catholic

schools the Debtors’ children attend, in every respect but one.36 That one exception is with


       34
            Docket # 60 at pdf p.7 (means test form); DX-E (Docket # 59) at pdf p.16 (amended Schedule
J).
       35
            Tr. (Docket # 85) at 29-30.
       36
            Id. at 88-111.

                                                  30
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respect to the Catholic religious education that is provided by the Catholic schools. During her

testimony, Lisa Maura expressed some concerns about safety and security at the public schools,

compared to the Catholic schools, but the Debtors presented no admissible evidence that the

safety and security in the Dearborn Public Schools was any lower than that at the Catholic

schools that Debtors’ children attend.

       With respect to the religious aspects of their children’s education in the Catholic schools,

the Debtors’ testimony established, without contradiction, that the Catholic schools offer

religious education that the public schools do not and cannot offer, and that the Catholic schools

also provided Catholic religious practices such as liturgies, prayers, and retreats that are not

available in the public schools. Lisa Maura testified that she and her husband have decided that

if they could not afford to send their children to Catholic schools, Lisa would quit her job and

home-school her children, to provide their education, including their religious education.37

       The Court certainly does not question the Debtors’ sincerity, nor their dedication to

obtaining a Catholic education for their children. But even assuming that the Debtors’ strong

preference for their children to obtain a Catholic religious education can be considered “special

circumstances” under § 707(b)(2)(B)(i), the Debtors have not met their burden of proving that

“there is no reasonable alternative,” by which the Debtors could obtain the reasonable equivalent

of the Catholic religious education without incurring the expense of sending their children to

Catholic schools. First, the evidence established that for all aspects of the Debtors’ childrens’

education except the religious aspect, sending the children to the Dearborn Public Schools is

clearly a reasonable alternative to the Catholic schools. Second, with respect to the religious

aspects of their childrens’ education, the Debtors have failed to prove that there is no “reasonable


       37
            Id. at 30-32.

                                                 31
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alternative” to Catholic schools — for example, sending the children to the tuition-free Dearborn

Public Schools and then home-schooling the children with respect to the religious aspects of the

Catholic education that Debtors want for their children. Debtors have failed to prove that such

limited home-schooling would require Lisa Maura to quit her job or significantly reduce her

work hours and income.

       More fundamentally, the Court concludes that the Debtors’ desire to send their children to

Catholic schools, for the religious aspects of a Catholic education, does not qualify as “special

circumstances that justify additional expenses. . . for which there is no reasonable alternative,”

within the meaning of § 707(b)(2)(B)(i)(emphasis added). By claiming $900.00 per month (or

$1,095.00 per month) as a “special circumstance” in this context, the Debtors in effect are asking

for a Chapter 7 discharge of their debts without paying their creditors anything, so that Debtors

can satisfy their strong personal preference to send their children to Catholic schools for a

religious education. In effect, Debtors want the Court to require their creditors to help fund the

private, religious education of the Debtors’ children. In the Court’s view, that cannot be

“justified” under § 707(b)(2)(B)(i).

       This conclusion is supported in at least two ways. First, it is supported by the fact that in

§ 707(b)(2)(A)(ii)(IV), Congress specifically provided for a deduction on the means test form for

public or private elementary or secondary school expenses. But Congress limited that allowable

expense, to a maximum of $1,175.00 per year per child. This section provides a means test

deduction for the following:

               expenses for each dependent child less than 18 years of age, not to
               exceed $1,775 per year per child, to attend a private or public
               elementary or secondary school if the debtor provides
               documentation of such expenses and a detailed explanation of why
               such expenses are reasonable and necessary, and why such
               expenses are not already accounted for in the National Standards,

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                  Local Standards, or Other Necessary Expenses referred to in
                  subclause (I).

11 U.S.C. § 707(b)(2)(A)(ii)(IV). This section indicates that Congress intended to provide only a

limited amount which Chapter 7 debtors could claim as expenses, for purposes of § 707(b)(2), for

the cost of private education. And the Debtors in this case have taken full advantage of this

allowable expense, by claiming the maximum allowable expense for their two minor children, on

Line 38 of the Debtors’ mean test form, in the amount of $295.84 per month.38

        Second, the Court agrees with the reasoning of the courts that have held that the expense

of debtors to pay parochial school tuition for their children is not a “reasonably necessary”

expense, for purposes of determining whether a Chapter 13 plan offers to pay creditors all of the

debtors’ disposable income. The reasoning of these cases supports the Court’s conclusion here,

that such parochial school expense should not be deemed a “special circumstance that justifies”

an “additional expense for which there is no reasonable alternative,” under § 707(b)(2)(B)(i). See

e.g., In re Watson, 403 F.3d 1, 8 (1st Cir. 2005); In re Lynch, 299 B.R. 776, 779-80 (W.D.N.C.

2003); In re Schott, No. 05-49765-293, 2007 WL 914043 at *3 (Bankr. E.D. Mo. March 23,

2007). In the Watson case, for example, the debtor testified much like the Debtors have testified

in this case, that:

                  he, his wife, and his two children are devout Catholics who attend
                  church every Sunday and during all the holy days of obligation.
                  [The Debtor] testified that he is actively involved in church
                  ministry, and that his children have been assisting at mass since the
                  third grade. [Debtor] stated that he and his wife have always sent
                  their children to parochial schools because they value the
                  importance such schools place on God.

403 F.3d at 3. Nonetheless, the United States Court of Appeals for the First Circuit held that the



        38
             Docket # 60 at pdf p.5, line 38.

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debtors’ expense of sending their children to Catholic school for religious reasons was not a

reasonably necessary expense. The Watson court reasoned as follows, in that Chapter 13 case:

                 To allow the Watsons to pay parochial school tuition over the life
                 of the proposed plan would require already severely reduced
                 creditors to fund the private education of the Watsons’ children.
                 We can appreciate the importance attached by the Watsons to the
                 religious values of a parochial school education. Still, it is not
                 impossible to inculcate those values outside of a school, and the
                 court could reasonably conclude, in the circumstances presented
                 here, that it would be improper to impose the added expense on the
                 Watsons’ unpaid creditors where the children's educational needs
                 could otherwise be met in the public schools. There was no clear
                 error in the bankruptcy court's determination.

403 F.3d at 8.

       For these reasons, the Court concludes that the Debtors cannot use any part of their

Catholic school tuition expense to rebut the § 707(b)(2) presumption of abuse in this case.

       Based on the foregoing, the Debtors have failed to rebut the presumption of abuse under

§ 707(b)(2).

       4. Permissive versus mandatory dismissal

       Debtors argue that even if they have failed to rebut the presumption of abuse under

§ 707(b)(2), the Court has discretion not to dismiss their case. In support of this argument,

Debtors cite the use of the word “may” in § 707(b)(1), and the case of In re Siler, 426 B.R. 167

(Bankr. W.D.N.C. 2010).

       If the presumption of abuse arises under § 707(b)(2), and is not rebutted, the Court must

“find that the granting of relief would be an abuse of the provisions of [chapter 7]” within the

meaning of § 707(b)(1). But as Debtors point out, the statute (quoted above) merely says that

upon making such a finding, the Court “may” dismiss the case, not that it “shall” or “must” do




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so.39

        The words “may” and “shall” each appear many times in the Bankruptcy Code, but the

Code does not explicitly define either word. Nor does the Code state any rules of construction

for the word “may.”40 In general, courts construe the word “may” to be permissive, and the word

“shall” to be mandatory. See, e.g., Isle Royale Boaters Ass’n v. Norton, 330 F.3d 777, 783 n.1

(6th Cir. 2003)(“we assume that ‘may’ is using its ‘common-sense’ permissive definition unless

the context of the statute suggests otherwise”)(citation omitted); Dorris v. Absher, 179 F.3d 420,

429 (6th Cir. 1999)(“The use of the term ‘may’ in a statute is generally construed as permissive

rather than as mandatory.”)(citation omitted); Whitehead v. Richardson, 446 F.2d 126, 128 (6th

Cir. 1971)(“may” is permissive; “shall” is mandatory). But the Supreme Court has held that “the

mere use of ‘may’ [in a statute] is not necessarily conclusive of congressional intent to provide

for a permissive or discretionary authority.” Cortez Byrd Chips, Inc. v. Bill Harbert Constr. Co.,

529 U.S. 193, 198 (2000) (citations omitted). “It is true that in statutes the word ‘may’ is

sometimes construed as ‘shall.’ But that is where the context, or the subject-matter, compels

such construction.” Farmers’ & Merchants Bank of Monroe N.C. v. Fed. Reserve Bank of

Richmond, 262 U.S. 649, 662-63 (1923). The Supreme Court explained it this way in United

States v. Rodgers, 461 U.S. 677, 706 (1983):

                  The word “may,” when used in a statute, usually implies some
                  degree of discretion. This common-sense principle of statutory
                  construction is by no means invariable, however, and can be
                  defeated by indications of legislative intent to the contrary or by
                  obvious inferences from the structure and purpose of the statute.

(Footnote and citations omitted).

        39
             Debtors’ Br. (Docket # 72) at 2, 3.
        40
            The closest the Bankruptcy Code comes to this is in 11 U.S.C. § 102(4), which states that “in
this Title – . . . (4) ‘may not’ is prohibitive, and not permissive.”

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       Neither the Supreme Court nor the United States Court of Appeals for the Sixth Circuit

has addressed this issue in the context of §§ 707(b)(1) and 707(b)(2). The courts that have done

so have come to differing conclusions.

       Some courts have construed § 707(b)(1) as mandating dismissal or conversion whenever

the presumption of abuse arises and is not rebutted. These courts view the word “may” as only

giving the court discretion as to which of the options expressly provided in the statute —

dismissal or conversion (if the debtor consents to conversion) — is to be ordered. See, e.g., In re

Woodruff, 416 B.R. 369, 373 (Bankr. D. Mass. 2009)(“By explicitly providing in

§ 707(b)(2)(B)(i) that ‘[i]n any proceeding brought under this subsection, the presumption of

abuse may only be rebutted by demonstrating special circumstances,’ Congress evinced its intent

to divest the bankruptcy courts of the discretion necessary to grant a Chapter 7 discharge to

debtors whose case is found abusive under § 707(b)(2).”); Justice Advanced Control Solutions,

Inc., No. 07-5231, 2008 WL 4368668, at *1, 5 (W.D. Ark. September 22, 2008)(“Indications of

legislative intent, and obvious inferences shown to be drawn from the purpose of BAPCPA

persuade the court that ‘may’ in § 707(b) is used to indicate discretion only as far as deciding

which two options should be exercised in a case where the presumption of abuse arises and is not

rebutted.”), aff’d, 639 F.3d 838 (8th Cir. 2011); In re Witek, 383 B.R. 323 (Bankr. N.D. Ohio

2007)(concluding that court was required to dismiss case due to debtor’s failure to rebut

presumption of abuse, unless debtor converted case to Chapter 13); In re Haman, 366 B.R. 307

(Bankr. D. Del. 2007)(the court “has no discretion and must dismiss the chapter 7 case” if

presumption of abuse is not rebutted).

       Another line of cases take a more flexible approach. These cases hold that in the face of

an unrebutted presumption of abuse under § 707(b)(2), the bankruptcy court has discretion to


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deny dismissal, and leave the case in Chapter 7, in unusual cases where that is necessary to avoid

an “absurd result.” The Siler case, cited by Debtors, is one such case, and there are a number of

other such cases. See, e.g., In re Siler, 426 B.R. 167, 176 (Bankr. W.D.N.C. 2010)(declining to

dismiss Chapter 7 case based on a means test presumption of abuse when the debtor could not

pay, and could not be required to pay, a dividend to unsecured creditors in a hypothetical chapter

13 case); In re Mravik, 399 B.R. 202, 210 (Bankr. E.D. Wis. 2008)(holding that a court “has

discretion to deny a motion to dismiss a Chapter 7 case that is presumed abusive under the means

test, but would, in complete compliance with Chapter 13, produce no payments to creditors;”

court extensively discussed the principle that “may” indicates discretion; the legislative history;

and Congressional purpose in enacting BAPCPA); In re Skvorecz, 369 B.R. 638, 642 (Bankr. D.

Colo. 2007)(plain statutory language of § 707(b)(1) is permissive); cf. In re Latone, No. 4:08-bk-

0331-EWH, 2008 WL 5049460, at *1-3 (Bankr. D. Ariz. October 23, 2008)(relying on reasoning

in In re Skvorecz to deny a United States Trustee’s motion to dismiss under the “totality of

circumstances” test under § 707(b)(3)).

       Even those courts that hold § 707(b)(1) to be permissive recognize the narrow scope of

their discretion not to dismiss, in the face of an unrebutted presumption of abuse. In re Mravik,

399 B.R. at 210 (the exercise of limited discretion under § 707(b)(1) “should be exercised

rigorously and sparingly”)(quoting United States v. Rodgers, 461 U.S. 677, 711 (1983)); In re

Skvorecz, 369 B.R. at 644 n.12 (“This [c]ourt does not read the ‘may’ so as to afford a court carte

blanche discretion to ignore the presumption of abuse and write section 707(b)(2)(A) out of the

Code. Rather, the [c]ourt reads it as affording the court discretion in a case such as this, where

other provisions of the same statute create an inconsistency leading to an absurd result.”).

       The Court agrees with the cases, cited above, that conclude that § 707(b)(1) mandates


                                                 37
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dismissal or conversion whenever the presumption of abuse arises under § 707(b)(2) and is not

rebutted. As noted above, when there is an unrebutted presumption of abuse under § 707(b)(2),

the bankruptcy court is compelled to “find that the granting of relief would be an abuse of the

provisions of [Chapter 7]” within the meaning of § 707(b)(1). In such a circumstance, the

bankruptcy court’s hands are tied. The Court simply cannot make such a finding and then leave a

case to proceed in Chapter 7. That in itself would be an absurd result — finding an abuse but

allowing the abuse to continue.

        The Debtors’ arguments as to why the Court should exercise its alleged discretion to

decline to dismiss this case, despite the unrebutted presumption of abuse, really amount to a

criticism of the whole § 707(b)(2) means-test concept. Whether such criticism is warranted is

not for this Court to decide; the Court must apply the law that Congress enacted. As the

Supreme Court observed in Ransom v. FIA Card Servs., N.A., 131 S. Ct. 716, 721 (2011), in

responding to the debtor’s argument that application of the means test produced an odd result in

that case,

               But this kind of oddity is the inevitable result of a standardized
               formula like the means test, even more under Ransom’s reading
               than under ours. Such formulas are by their nature over- and
               under-inclusive. In eliminating the pre-BAPCPA case-by-case
               adjudication of above-median income debtors’ expenses, on the
               ground that it leant itself to abuse, Congress chose to tolerate the
               occasional peculiarity that a brighter-line test produces.

IV. Conclusion

        For the reasons stated above, the § 707(b)(2) presumption of abuse arises and Debtors

have not rebutted it. Therefore, the Court must find, and does find, that “the granting of relief

would be an abuse of the provisions of [Chapter 7]” in this case, within the meaning of

§ 707(b)(1). And as a result of this finding, the Court must either dismiss this Chapter 7 case or,


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if Debtors wish to convert to Chapter 13 or Chapter 11, permit Debtors to move for such

conversion.41 The Court will enter an appropriate order.


Signed on April 19, 2013                                 /s/ Thomas J. Tucker
                                                         Thomas J. Tucker
                                                         United States Bankruptcy Judge




        41
          Because the Court has found abuse based on § 707(b)(2), it is not necessary to discuss the
UST’s alternative argument, that the Court should find abuse based on the § 707(b)(3) “totality of the
circumstances” test.

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